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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                               Case No. 12-40043-02-RDR

JOSE LUIS OSORIEO-TORRES,

                 Defendant.


                                O R D E R

     This matter is presently before the court upon defendant’s

motion to continue the hearing on pretrial motions scheduled for

July 31, 2012.     The defendant seeks a continuance because his

counsel will be out of state at the time of the scheduled hearing.

The defendant notes that his co-defendant joins in the request.

The defendant further notes that the government has no objection to

this motion.

     For the reason stated, this motion shall be granted.                  The

hearing on pretrial motions shall be continued to August 13, 2012

at 10:30 a.m.    The court finds that the period of delay resulting

from the additional time granted shall be excludable time as

provided in 18 U.S.C. § 3161(h)(7) because the ends of justice

served by the granting of this motion outweigh the best interest of

the public and the defendant in a speedy trial.

     IT IS THEREFORE ORDERED that defendant’s motion to continue

the pretrial hearing (Doc. # 46) be hereby granted. The hearing on
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pretrial motions shall be continued to August 13, 2012 at 10:30

a.m.    The period of delay resulting from this extension shall be

excludable under 18 U.S.C. § 3161(h)(7).

       IT IS SO ORDERED.

       Dated this 31st day of July, 2012 at Topeka, Kansas.


                                    s/Richard D. Rogers
                                    United States District Judge




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